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AO 91 (Rev 8/01) — Criminal Complaint

 

United States District Court

SOUTHERN DISTRICT OF TEXAS
MCALLEN DIVISION

 

UNITED STATES OF AMERICA
V. CRIMINAL COMPLAINT

Carlos Gerardo Ordonez-Rodriguez
Case Number: M-19-0072-M

|AE YOB: 1994
Honduras
(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about January 9, 2019 in Hidalgo, TX County, in

the Southern District of “Texas
(Track Statutory Language of Offense)

being then and there an alien who had previously been deported from the United States to Honduras in pursuance of law, and
thereafter was found near Edinburg, Texas, within the Southern District of Texas, the Attorney General of the United States and/or
the Secretary of Homeland Security, not theretofore having consented to a reapplication by the defendant for admission into the
United States;

in violation of Title __8 _ United States Code, Section(s) 1326 (Felony)
I further state that I am a(n) Senior Patrol Agent_ and that this complaint is based on the
following facts:

Carlos Gerardo Ordonez-Rodriguez was encountered by Border Patrol Agents near Edinburg, Texas on January 9, 2019. The investigating agent
established that the Defendant was an undocumented alien and requested record checks. The Defendant claims to have illegally entered the United
States on December 20, 2018, near Hidalgo, Texas. Record checks revealed the Defendant was formally Deported/Excluded from the United States on
October 31, 2018 through Phoenix, Arizona. Prior to Deportation/Exclusion the Defendant was instructed not to return to the United States without
permission from the U.S. Attorney General and/or the Secretary of Homeland Security. On October 10, 2018, the defendant was convicted of 8 USC
1326, Illegal Re-entry of a Deported Alien and sentenced to one hundred and forty eight (148) days confinement and twelve (12) months supervised
released term.

 

Continued on the attached sheet and made a part ¢ this complaint: [_]¥es [x] No
Age coved. by Prlaort (x We cen / /
Sworn to before me and subscribed in my presence, Signat re of defnpla hl

 
   
 
   

 

January 11, 2019 ~GL0V% pg

 

Senior Patrol Ag

Juan F Alanis , U.S. Magistrate Judge

Name and Title of Judicial Officer Bigratu nature of Judicial Officer
